      Case: 1:20-cr-00847-SL Doc #: 67 Filed: 03/13/25 1 of 2. PageID #: 394




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


    UNITED STATES OF AMERICA,                          )         CASE NO. 1:20-cr-847
                                                       )
                              PLAINTIFF,               )         CHIEF JUDGE SARA LIOI
                                                       )
    vs.                                                )
                                                       )         ORDER ON VIOLATION OF
                                                       )         CONDITIONS OF SUPERVISED
                                                       )         RELEASE
    JAMES GRAY,                                        )
                                                       )
                             DEFENDANT.                )


           A Violation Report was filed in this case on July 26, 2023.1 The Court referred this

matter to Magistrate Judge Carmen E. Henderson to conduct appropriate proceedings and

to file a report and recommendation. Magistrate Judge Henderson reported that a

supervised release violation hearing was held on March 6, 2025. The defendant admitted

to the following violation:

           1. Unavailable For Supervision;
           2. Treatment Noncompliance; and
           3. New Law Violation

           The magistrate judge filed a report and recommendation on March 6, 2025, in

which the magistrate judge recommended that the Court find that the defendant has violated

the conditions of his supervised release as set forth in violation numbers 1, 2, and 3.



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    A superseding violation report was filed on March 11, 2025, to provide an update to the Court.
   Case: 1:20-cr-00847-SL Doc #: 67 Filed: 03/13/25 2 of 2. PageID #: 395




       A final supervised release violation hearing was conducted on March 13, 2025.

Present were the following: Assistant United States Attorney David Toepfer, representing

the United States; Assistant Federal Public Defender Jeffrey Lazarus, representing the

defendant; the defendant James Gray, and United States Probation Officers Bethani Lang

and Mark Shannon.

       The parties waived the 14-day objection period, and no objections were filed to the

report and recommendation of the magistrate judge. Upon review, the Court adopts the

report and recommendation of the magistrate judge and finds the defendant to be in

violation of the terms and conditions of his supervised release as set forth in violation

numbers 1, 2, and 3.

       IT IS ORDERED that the defendant’s supervised release is revoked, and the

defendant is committed to the custody of the Bureau of Prisons for a term of 6 months,

with credit for time served to date. No supervised release to follow.

       Defendant remanded.

       IT IS SO ORDERED.

 Dated: March 13, 2025
                                                 HONORABLE SARA LIOI
                                                 CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT




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